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Exhibit B

United States of America ex rel. Ven-a-Care of the Florida Keys, Inc. v. Dey, Inc., et al.,
Civil Action No. 05-11084-PBS

Exhibit to Plaintiff's Memorandum In Support of United States’ Motion
In Limine Regarding Testimony of Raymond C. Winter and
Sequencing of Deposition Testimony
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CAUSE NO. GV002327
THE STATE OF TEXAS IN THE DISTRICT COURT
ex rel.
VEN-A-CARE OF THE
FLORIDA KEYS, INC.

)
)
)
)
)
Plaintiffs, )
)
vs. ) TRAVIS COUNTY, TEXAS
)
DEY, INC.; ROXANE )
LABORATORIES, INC. and )
WARRICK PHARMACEUTICALS )
CORPORATION, )
)
Defendants. ) 53rd JUDICIAL DISTRICT

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ORAL AND VIDEOTAPED DEPOSITION OF
ROBERT FRANCIS MOZAK
November 1, 2001

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ORAL DEPOSITION OF ROBERT FRANCIS MOZAK,
produced as a witness at the instance of the Plaintiffs
and duly sworn, was taken in the above-styled and
numbered cause on the lst day of November 2001, from
9:12 a.m. to 4:57 p.m., before Randall N. Finch, CSR in
and for the State of Texas, reported by machine
shorthand, at the offices of Coudert Brothers, 600
Beach Street, Third Floor, San Francisco, California
94109, pursuant to Notice, the Texas Rules of Civil

Procedure and the provisions as previously set forth.

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APPEARANCES

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FOR THE PLAINTIFF, VEN-A-CARE OF THE FLORIDA KEYS,
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MR. ZACHARY BENTLEY

ALSO PRESENT: Mr. Richard Rienstra, Videographer

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Q. I understood from your last answer. that --
that Mr. Galles and Mr. Johnston might have shared
responsibility to report to Texas?

A. The way it would have worked is the marketing
person, who in this case would have been Mr. Galles,
would have likely prepared the letters and then those
letters would have been reviewed by Mr. Johnston and he

would have taken the responsibility of sending them

out.

Q. I see.

A. That's how it would have worked.

Q. You indicated that Ms. Jackson is no longer
with Dey?

A. Yes.

Q. Do you know where she is now?

A. No, I do not.

Q. Is Mr. Hugo still with Dey?

A. No, he's not.

Q. And do you know where he is now?

A. No, I do not.

Q. Is Ms. Burnham still with Dey?

A. No, she is not.

Q. Do you know where she is now?

A. No, I do not know specifically. I know
generally.

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9:47A

9:48A

A.

Q.

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Do you know generally?
Somewhere in California.
How about Mr. Galles?
He's no longer with Dey.
Is he somewhere in California?
Yes, he is in Napa.

He is in Napa. Is he still in the

pharmaceutical industry, do you know?

A.

Q.

A.

A.

Q.

Yes, he is.

With one of your competitors?

No, he is not with a competitor.
Do you know who he works for?
Works for a company called Senten.
S-a-n --

S-e-n-t-e-n.

When we spoke with Mr. Rice the other day, he

indicated that Dey tends to sell its products to the

same class of customers, say, for example, wholesalers

at prices that are within a close range. Would you

agree with that proposition?

A.

WAC.

We sell our wholesalers at -- at one price,

That's our invoice price.

At one set specific price?
Yes, to wholesalers, yes.

There's no variance in the price between --

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10:27A

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wanted that information regarding Mr. Hugo?

A. Yes.

Q. Same question with respect to Ms. Burnham.
Do you know why she left Dey?

A. She left Dey for another position for more --
for more money.

Q. She wasn't fired?

A. No, she was not. She resigned.

Q. Do you know what company she went to work for?

A. She went to a company call Inhale,
I-n-h-a-l-e.

Q. Do you know if she still works at Inhale?

A. No, I believe she does not.

Q. Why do you believe that she no longer works at
Inhale?

A. Because I received a call from her about two

years ago telling me that she was going to leave that
job and take -- go to school to become a psychologist,
for her Ph.D.

Q. Do you know where she was planning on going to
school to take her Ph.D.?

A. No, I do not.

Q. Do you remember where she was when she made
the phone call to you?

A. I ~- I believe it was probably from Inhale.

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10:28A

10:30A

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Q. Which is based where?
A. That's based South Bay, around -- I believe
around Palo Alto or in that general vicinity.
Q. Now, I suppose if we went to Ms. Villegas we

might be able to get more information about where she
could be reached?

A. Perhaps, yes.

Q. Now right before the break I was asking you
about percentages of Dey's sales to wholesaler

customers that are through group purchasing

organizations.
A. Yes,
Q. And we were talking about whether or not

Ms. Marrs could pull up that information. Is that the
kind of information that you have occasion to go to

Ms. Marrs and request from time to time?

A. No, it is not.
Q. Is it of any importance to you whatsoever what
percentage of -- as the person in charge of sales and

marketing, is it not important to you to have a handle
on what percentage of the sales of your products are to
which classes of your customers?

A. It's not that important. I don't follow that
on a regular basis.

Q. That's not anything that you take into account

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11:42A

11:43A

85

A. I don't know.

Q. Do you know who individually handles that
function for Dey?

A. No, I don't.

Q. What is your understanding of the term spread?

A. Well, I would define spread as the difference
between the cost and the reimbursement amount.

Q. When you say cost, do you mean cost as in that
which is paid by the purchaser?

A. Yes.

Q. And when you mean reimbursement amounts, do
you mean the amount paid by Medicaid?

A. Could be Medicaid or any third-party payer.

Q. Let's put this in the context of the issue

that we're all here regarding, and that is payments to
vendors of Dey's products that are dispensed to
Medicaid patients.

A. Mm-hmm.

Q. So, is spread the difference between what is
reimbursed to those vendors and the amount that they
actually paid to acquire the product?

A. Yes.

Q. Is it Dey's policy to market the spread in its
interaction with its customers?

A. No, it is not.

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11:44A 1

11:46A 25

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Q. Has Dey ever engaged in the practice of
marketing the spread?

A. Not to my knowledge.

Q. Tf it came to your attention that your
employees were engaged in the practice of marketing the
spread, would you condone that practice?

A. No, I would not.

Q. I'll represent to you that Mr. Rice was, shall
we say adamant that he did not condone the practice of

marketing the spread. Do you share that feeling?

A. Yes, I do.

Q. Can you tell us why?

A. Well, I just -- I don't think it's -- it's --
it's proper. We have never -- that has never been the

policy of the company to market on that basis. We
market on the basis of the product attributes.

Our customers use our products because
of the attributes that we have and they prefer our
products. In fact, we have consistently lowered our
WAC over the history of the product and we have always
been a price follower in terms of dropping price. So
if anything, we're not marketing the spread. We have
the -- the poorest -- we probably have the worst
position when it comes to spread than our competitors.

Q. How do you maintain your position in the

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4:17P

4:18P

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and divergent spreadsheets prepared purportedly by Dey
Laboratories, is a term used by Dey Laboratories in its
own communication systems.

A. Tt is -- it is not normally used.

Q. It's -- okay, not normally used. And in order
to find out why the word "Net Price" keeps popping up
on these types of spreadsheets as we have in front of
us now, who at Dey should I go talk to?

A. Finance department or the contract department,
either one.

Q. And would your answer be the same for the

suggested sales price or the suggested sale price?

A. Yes.

Q. Go talk to finance or accounting. Who there?
A. Pam Marrs.

Q. Pam Marrs. Okay. And how about in contracts?
A. Russell Johnston.

Q. Russell Johnston. Okay.

Now, let me show you what was marked as
Exhibit 72 yesterday during Mr. Rice's deposition.
I'll ask, have you ever seen that document before?
A. I saw it about two years ago for the first
time during when we were collecting documents.
Q. You were surprised when you saw that document

for the first time two years ago?

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4:20P

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A. Yes, I was.
Q. Why?
A. Well, first of all, it's incorrect. It should
have never gone out.
Q. Incorrect in what context?
A. In -- in several contexts. It didn't -- it

didn't mention all the WAC states. It's also incorrect
as it -- as it relates to the first sentence in the
second paragraph, where it says WAC is not

representative of the published wholesale prices.

Q. Well, what WAC states did it miss, to your
knowledge?

A. Probably missed Texas, I -- and I'm not sure
I -- others.

Q. Okay. But Texas is conspicuously absent?

A. Yes, it was.

Q. Okay. It also talks about increasing the WAC

prices as a competitive response to Warrick. Correct?

A. Doesn't quite say that in those terms, no.

Q. Well, why don't you read it? I hate to have
you do this, but just read the language that we're
talking about right now so we can discuss it and make
sure that the questions are clear.

A. The whole -- with the whole letter or just the

last sentence?

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4:21P

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Q. The last sentence about adjusting WAC prices.

A. "Our updated WAC values are in line with the
Warrick WAC value -- Warrick WAC values provided by

First Data Bank and should level the playing field for
Medicaid reimbursements."

Q. Did Mrs. -- was Mrs. Burnham involved in
increasing WAC prices at Dey Laboratories at or about

the time of that memo?

A. Yes, she did.

Q. Was she authorized to do that?

A. No, she was not.

Q. Was she disciplined for it.

A. She left the company approximately three

months after it happened, so she was not disciplined.

Q. And when it happened -- I realize you first
saw the memo about two years ago, but that memo goes
back to what, '95?

A. Yes. Correct.

Q. Were you aware that Ms. Burnham had increased
WAC prices at or about the time that she did it?

A. I was not aware that she had done that.

Q. When did you first become aware that she had
done that?

A. I became aware of it about six months later

when through normal routine checks one of the other

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